         Case 4:05-cr-40034-JPG                         Document 70          Filed 11/18/05             Page 1 of 5           Page ID #90


%A0 2458      (Rw. 06/05) Judgment in a Criminal Case
              Sheet 1



                                              STATESDISTRICT COURT
                                         UNITED
                       SOUTHERN                                  District of                                   ILLINOIS

         UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             v.
                                  f
       PATRICIA GONZALE IDE LA GARZA
                                                                          Case Number:         4:05CR40034-002-JPG
                                                                          U S M Number:        06711-025

                                                                           Brian K. Trentman
                                                                          Defendant's Amrney
THE DEFENDANT:
upleaded guilty to count(s)           1,2. 3.4,5. 6. 7, 8.9, 10, 11, 12. 13 and 14 of the Indictment.
  pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count@)
                                                                                                                       4
                                                                                                                           --
   aftera plea of not guilty.

The defendant is adjudicatedguilty of these offenses:




 lii) and IRYi)                    States bv Means of a Motor Vehicle



       The defendant i s sentenced as provided in pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count($                                                  is        are dismissed on the motion of the United States

         It is ordrrcd $at the defendant must nolitj. the L'njkrl Stales attome) for this dist<ct within 30 da 9 of my chan Y of name, rcsidence,
or mailing ddrcss unt~l  dl fines, rcstltutlon, costs, and spcclal ascsmcnts ~mposcd   hy th~sjudgmc~t   are full.) paid. Iforkred to pa) restirution.
the dcknllmt must notif! the coun and \lnitcd Statcs atorney oimalerial changes in economlz clrcumslances.




                                                                           J. Phil Gilbert,                            District Judge
                                                                          Name of Judge                               Title of Judge
           Case 4:05-cr-40034-JPG                        Document 70          Filed 11/18/05            Page 2 of 5          Page ID #91


A 0 245B      (Rev. 06105) Judgment in a Criminal Case
              Sheet &Probation                                                                                                2-                 /h
Judgment--Page
 DEFENDANT: PATRICIA GONZALEZ-DE LA GARZA
 CASE NUMBER: 4:05CR40034-002-JPG
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:

  5 years on Counts 1 through 14. All Counts to run concurrent with each other.




 The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled gubstance. The defendant shall refrajn from an unlawful use of a controlled
 substance. The defe?dant shall submit to one drug test wlthm 15 days of placement on probation and at Last two perlod~cdrug tests
 thereafter, as determmed by the court.
      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
 [id The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 [id The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
      student, as directed by the probation officer. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officerat least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plam view ofthe probation officer;
           the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
           L\ directed hy the roh~tionot'licer, the jciendant shall notit') lhird panics ot'risks that may he oicas~onedby the Jsfendanr's criminal
           rccord or           h i s k y or chmartertstics and shall permll the prohation otticcr 10 make wih notificaiions and to confirm the
           dct'en&ant s compliance uith such noiificalion requirement.
           Case 4:05-cr-40034-JPG                       Document 70   Filed 11/18/05      Page 3 of 5         Page ID #92

A 0 2458     (Rev. 06105) Judgment in a Criminal Case
             Sheet 4C - Pmbatlon
                                                                                                                -.<                 ,--
                                                                                                                                    ?'
DEFENDANT: PATRICIA GONZALEZ-DE LA GARZA
                                                                                             Judgment-Page
                                                                                                             \d       Of     lit(
CASE NUMBER: 4:05CR40034-002-JPG

                                           SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall spend 180 days in a Community Confinement Center.

 The defendant shall pay any financial penally that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the special assessments in installments of
 $40.00 per month or ten percent of her net monthly income, whichever is greater.

 The defendant shall perform 30 hours of public service work,

 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale as directed and approved by the United States Probation Office. Co-pay shall never
 exceed the total costs of counseling.

 The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such time
 as the defendant is released from the program by the probation officer.
                                                                                                                                           -
           Case 4:05-cr-40034-JPG                        Document 70              Filed 11/18/05              Page 4 of 5         Page ID #93

A 0 2458    (Rev. 06105) Judgment in a Criminal Case
            Sheet 5 C r i m i n a l Monetary Penalties
                                                                                                          ~~dgment-pape        \d '   of    W1
 DEFENDANT: PATRICIA GONZALEZ-DE LA GARZA                                                                               -7-
 CASE NUMBER: 4:05CR40034-002-JPG
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                          -
                                                                            Fine                                 Restitution
 TOTALS             $ 1,400.00                                           $ 0.00                                $ 0.00



      The determination of restitution is deferred until     -. An Amended Judgment in a Criminal Case (A0 245C) will he entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
      the prlorlty order or percentage payment columntelow. However, pursuant to 18 Q.3.E. 8 3664&, all nonfederal vlctlms must be p a d
      before the United States is pa~d.

 Name of Payee                                                               TotalLoss*
                                                                                    Restitution Ordered                   Priority o r Percentape




 TOTALS                                  $                       0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

 [7    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 8 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for the            fine           restitution.
            the interest requirement for the              fine          restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and I 13A of Title 18 for offenses committed on or after
 September 13,1994,but before April 23,1998.
           Case 4:05-cr-40034-JPG                    Document 70              Filed 11/18/05            Page 5 of 5            Page ID #94

A 0 245B    (Rev 06105) Judgment m a Cnrmnal Case
            Sheet 6 -Schedule of Payments
                                                                                                           Judgment - Page
 DEFENDANT: PATRICIA GONZALEZ-DE LA GARZA
 CASE NUMBER: 4:05CR40034-002-JPG

                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                 due immediately, balance due

                  not later than                                  , Or
                  in accordance         q C,        17 D,           E, or         F below; or

 B    q     Payment to begin immediately (may be combined with              DC,           D, or        F below); 01

 C          Payment inequal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
                                    .
            While on probation the defendant shall make monthly payments in the amount of $40.00 or ten percent of her net
            monthly income, whichever is greater.




 Unless the wurt has express1 ordered otherwise, if thisjud ment imposes imprisonment, a ment ofcriminal monetary penalties is due durin
 imprisonment All crlminarmonetarg penalties, except fhose payments made througi t i e Federal Bureau of Pr~sons'Inmate ~ i n a n c i 8
 Responsibility Program, are made t o t e clerk ofthe court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 q    The defendant shall pay the following court cost(s):

 q    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Paymcnp shall be applied i n h e tbllosring urdcr. ( I i +sessmcnt, (2) restilution principal, (3) reslilution intcrcsr, (4) linc principal,
 (51 fine intcrcst. (6) cummunlty rcstitutiun, (7) psnalues, and (8) cash, ~ncluthngcost of prosecution and court cosrs.
